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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
      Plaintiff,                          )
                                          ) Criminal No. 21-cr-00178-01 (APM)
             v.                           )
                                          )
PETER SCHWARTZ,                           )
                                          )
      Defendant.                          )
_________________________________________ )


                                             ORDER

       Defendant Peter J. Schwartz’s Motion to Reconsider Bond Status and Release Pending

Trial, ECF No. 76 [hereinafter Def.’s Mot.], is hereby denied.

       The sole basis for Defendant’s motion is his lack of access to discovery to date. Id. at 4–5.

Defendant seeks release under two code provisions: (1) 18 U.S.C. § 3142(f) and (2) 18 U.S.C.

§ 3142(i). Def.’s Mot. at 4. Defendant’s inability to access discovery, however, is not information

that is “material” to the “issue whether there are conditions of release that will reasonably assure

the appearance of such person as required and the safety of any other person and the community.”

18 U.S.C. § 3142(f). Moreover, Defendant has not identified any “appropriate person” to whom

he could be released under 18 U.S.C. § 3142(i). See United States v. Lee, 451 F. Supp. 3d 1, 10

(D.D.C. 2020) (denying motion for release for failure to establish proposed custodian as an

“appropriate person”).

       Additionally, the basis for Defendant’s motion is arguably moot. The court understands

from information it recently received from the Department of Corrections that, on March 16, 2022,

Mr. Schwartz obtained access to a laptop computer to review discovery provided to him by counsel
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on a flash drive, and that as of this date, he continues to have access to that laptop to review

discovery. Accordingly, for the reasons stated, Defendant’s motion is denied.




                                                           Amit P. Mehta
Date: April 1, 2022                                United States District Court Judge
